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                                  Case 25-10232-KBO                 Doc 1        Filed 02/13/25           Page 1 of 16


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      7
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Camston Wrather LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  501 E. Las Olas Boulevard
                                  Suite 200                                                     2856 Whiptail Loop E
                                  Fort Lauderdale, FL 33301                                     Carlsbad, CA 92010
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                       Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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                                  Case 25-10232-KBO                     Doc 1         Filed 02/13/25             Page 2 of 16
Debtor    Camston Wrather LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               5629

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                               Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases           No
    pending or being filed by a
    business partner or an             Yes.
    affiliate of the debtor?




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                                       Case 25-10232-KBO                      Doc 1      Filed 02/13/25             Page 3 of 16
Debtor    Camston Wrather LLC                                                                           Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor       See attached Exhibit A                                       Relationship

                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors
                                        50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Camston Wrather LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.
                                                       February 13, 2025
                                 Executed on
                                                  MM / DD / YYYY


                             X                                                                            James LaChance
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Independent Manager




                                                                                                                        February 13, 2025
18. Signature of attorney    X                                                                             Date
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Robert J. Dehney, Sr.
                                 Printed name

                                 Morris, Nichols, Arsht & Tunnell LLP
                                 Firm name

                                 1201 N Market St., #1600,
                                 Wilmington DE 19899-1347

                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-351-9353                  Email address      RDehney@morrisnichols.com

                                 3578 DE
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                                           EXHIBIT A




         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor


On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a voluntary
petition for relief under chapter 7 of title 11 of the United States Code in the United States
Bankruptcy Court for the District of Delaware.
   1. Camston Wrather LLC
   2. Camston Wrather Sub Co., LLC
   3. Camston Wrather Plants Co., LLC
   4. Camston Wrather Management Co., LLC
   5. Camston Wrather Tech Co., LLC
   6. Camston Wrather Lab Co., LLC
   7. Stream Recycling Solutions, LLC
   8. Stream Recycling Solutions of California, LLC
   9. Camston Wrather (PA) LLC
   10. Camston Wrather (TX) LLC
   11. Three D Security, LLC
   12. Camston Carlsbad, LLC
   13. Camston Carlsbad Asset 1, LLC
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 7

    Camston Wrather LLC,                                   Case No. 25-_____ (___)

                      Debtor.


                    CORPORATE OWNERSHIP STATEMENT PURSUANT TO
                          FED. R. BANKR. P. 1007(a)(1) AND 7007.1

                    Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, Camston Wrather LLC, hereby certifies to the best of its knowledge, information, and

belief, that the following are corporations or limited liability companies, other than the debtor or a

governmental unit, that directly or indirectly own ten percent (10%) or more of its stock or

membership interests:

                           MG 1 Holdings, LLC
                           c/o Magnetar Financial LLC
                           1603 Orrington Avenue, 13th Floor Evanston, IL 60201

                           Philantra IV
                           3 Hutton Centre Suite 900
                           Santa Ana, CA 92707


                    A list of Camston Wrather LLC’s equity or membership interest holders’ names

and the nature of their equity interests is attached hereto as Exhibit A.1




1
             As of February 13, 2025.
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                                    EXHIBIT A

        List of Camston Wrather LLC’s Equity or Membership Interest Holders

               Name                   Address                   Equity or Membership

                                                                  Interest Held (%)

MG 1 Holdings, LLC           c/o Magnetar Financial         39.9804%
                             LLC
                             1603 Orrington Avenue,
                             13th Floor Evanston, IL
                             60201

Philantra IV                 3 Hutton Centre Suite 900      18.8871%
                             Santa Ana, CA 92707




                                           2
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     Fill in this information to identify the case and this filing:


                  Camston Wrather LLC
     Debtor Name __________________________________________________________________

                                                                                Delaware
     United States Bankruptcy Court for the: ______________________ District of __________
                                                                                   (State)
     Case number (If known):    _________________________




    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
    this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
    and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
    document, and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                Declaration and signature



             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
             another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule ____

              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                          Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________



            I declare under penalty of perjury that the foregoing is true and correct.

                        02/13/2025
            Executed on ______________                            _________________________________________________________________________
                               MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                                    James LaChance
                                                                    ________________________________________________________________________
                                                                    Printed name

                                                                     Independent Manager and sole member of the Special Committee
                                                                    ______________________________________
                                                                    Position or relationship to debtor



    Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                  OMNIBUS ACTION BY WRITTEN CONSENT
                                                   OF
                           THE SPECIAL COMMITTEE OF THE BOARD OF MANAGERS
                                                   OF
                                         CAMSTON WRATHER LLC,
                                                  AND
                                       THE SOLE MANAGER OF EACH
                                                   OF
                                     CAMSTON WRATHER SUB CO., LLC,
                                     CAMSTON WRATHER LAB CO., LLC,
                                CAMSTON WRATHER MANAGEMENT CO., LLC,
                                    CAMSTON WRATHER TECH CO., LLC,
                                   STREAM RECYCLING SOLUTIONS LLC,
                                         THREE D SECURITY, LLC,
                                       CAMSTON WRATHER (PA) LLC,
                                       CAMSTON WRATHER (TX) LLC,
                            STREAM RECYCLING SOLUTIONS OF CALIFORNIA, LLC,
                                   CAMSTON WRATHER PLANTS CO., LLC,
                                        CAMSTON CARLSBAD, LLC,
                                     CAMSTON CARLSBAD ASSET 1, LLC

                                                         February 13, 2025

                              The undersigned, constituting (i) the sole member of the Special Committee
             (the “Special Committee”) of the Board of Managers of CAMSTON WRATHER LLC, a
             Delaware limited liability company (“Camston”), and (ii) the sole managers and members of
             each of (A) CAMSTON WRATHER SUB CO., LLC, a Delaware limited liability company,
             (B) CAMSTON WRATHER LAB CO., LLC, a Delaware limited liability company (C)
             CAMSTON WRATHER MANAGEMENT CO., LLC, a Delaware limited liability company, (E)
             CAMSTON WRATHER TECH CO., LLC, a Delaware limited liability company, (F) STREAM
             RECYCLING SOLUTIONS LLC, a Florida limited liability company, (G) THREE D SECURITY,
             LLC, a Delaware limited liability company, (H) CAMSTON WRATHER (PA) LLC, a
             Pennsylvania limited liability company, (I) CAMSTON WRATHER (TX) LLC, a Delaware
             limited liability company, (J) STREAM RECYCLING SOLUTIONS OF CALIFORNIA, LLC, a
             Delaware limited liability company, (K) CAMSTON WRATHER PLANTS CO., LLC, a
             Delaware limited liability company, (L) CAMSTON CARLSBAD, LLC, a Delaware limited
             liability company, and (M) CAMSTON CARLSBAD ASSET 1, LLC, a Delaware limited liability
             company (each of Camston and (A) through (M), a “Company” and collectively, the “Companies”),
             hereby consent that the following actions be taken by written consent and without a meeting, in
             accordance with Sections 18-302(d) and 18-404(d) of the Delaware Limited Liability
             Company Act, Section 605.04073(2)(b) of the Florida Revised Limited Liability Company Act
             and Section 8847(d) of the Pennsylvania Uniform Limited Liability Company Act of 2016, as
             applicable, said actions having the same effect as if taken at a duly and validly noticed and held
             meeting:
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                            WHEREAS, in November 2024, James LaChance was appointed independent
             manager (the “Independent Manager”) of the Board of Managers of Camston, and also appointed
             as the sole member of the special committee (the “Special Committee”) of the Board of Managers
             of Camston at the time of the Special Committee’s formation on November 27, 2024;

                            WHEREAS, the Special Committee was vested with the exclusive responsibility
             and authority to act on behalf of the Board of Managers and Camston, individually and acting on
             behalf of each of the other Companies which are managed, directly or indirectly, by Camston, to
             evaluate, negotiate and ultimately determine to consummate, outside of or within bankruptcy
             proceedings, a recapitalization, financing, restructuring and/or potential strategic transaction
             including a sale of all or substantially all assets of the Companies;

                            WHEREAS, since its creation, the Special Committee proactively attempted to
             address the Companies’ balance sheet, financial and liquidity challenges through, among other
             things, negotiations with certain of the Companies’ secured lenders (the “Lenders”);

                           WHEREAS, in connection with those negotiations, and with the cooperation,
             encouragement and approval of the Lenders, the Companies began preparations for a bankruptcy
             proceeding under the provisions of title 11 of the United States Code (the “Bankruptcy Code”) for
             purposes of marketing and selling all or substantially all of their assets;

                           WHEREAS, in furtherance of preparations for a bankruptcy proceeding, the
             Lenders indicated a willingness to provide debtor-in-possession financing to the Companies to
             fund Chapter 11 cases;

                            WHEREAS, shortly before the intended commencement of the Chapter 11 cases
             the Lenders informed the Companies that they would not provide debtor-in-possession financing
             to the Companies;

                            WHEREAS, absent committed debtor-in-possession financing, the Companies do
             not have sufficient liquidity to fund a Chapter 11 bankruptcy proceeding;

                            WHEREAS, the Companies have not been able to identify any alternative sources
             of financing sufficient to either fund a Chapter 11 bankruptcy proceeding or permit the Companies
             to continue to operate its business outside of a bankruptcy proceeding;

                            WHEREAS, the Special Committee has reviewed and considered the financial and
             operational condition of the Companies and the Companies’ business on the date hereof, the assets
             of the Companies, the current and long-term liabilities of the Companies, and the recommendations
             of the Companies’ legal and restructuring advisors as to the relative risks and benefits of pursuing
             a bankruptcy proceeding under the provisions of title 11 of the United States Code (“Bankruptcy
             Code”); and

                             WHEREAS, the Special Committee has determined that it is advisable and in the
             best interests of the Companies and the Companies’ stakeholders, creditors, members, and other
             interested parties to commence a case (the “Bankruptcy Case”) under chapter 7 of the Bankruptcy

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             Code, and it has determined that it should do so promptly to ensure that the remaining value of the
             Companies can be maximized for the benefit of such stakeholders, creditors, members, and other
             interested parties.

                              NOW, THEREFORE, IT IS:

             Commencement and Prosecution of the Bankruptcy Case

                             RESOLVED, that, in the judgment of the Special Committee, it is desirable and in
             the best interests of each Company, the creditors of each Company, and other interested parties
             that a voluntary petition (each, a “Petition”) be filed by or on behalf of each Company under the
             provisions of chapter 7 of the Bankruptcy Code with the United States Bankruptcy Court for the
             District of Delaware (“Bankruptcy Court”); and it is further

                              RESOLVED, that the form, terms and provisions of, the execution, delivery and
             filing of, and the performance of the transactions and obligations contemplated by each Petition
             be, and they hereby are, authorized, approved and adopted in all respects and that the managers or
             officers of each Company (each, an “Authorized Officer” and collectively, the “Authorized
             Officers”) be, and each of them, acting alone or in any combination, hereby is, authorized, directed,
             and empowered on behalf of and in the name of each Company, and directly on behalf of and in
             the name of any other Company managed, directly or indirectly, by such Company, (i) to execute
             and verify a Petition and all documents ancillary thereto, and to cause the Petition to be filed with
             the Bankruptcy Court, such Petition to be filed at such time as an Authorized Officer shall
             determine and to be in the form approved by such Authorized Officer, with the execution thereof
             by any such Authorized Officer being conclusive evidence of the approval thereof by such
             Authorized Officer, and to take any and all related actions that the Authorized Officers may deem
             necessary or proper in connection with the filing of the Petition and commencement and
             prosecution of the Bankruptcy Case, including attending the meeting of creditors pursuant to
             section 341 of the Bankruptcy Code on behalf of the Company; (ii) to make or cause to be made
             prior to the execution thereof any modifications to the Petition or such ancillary documents that,
             in the judgment of the Authorized Officers, may be necessary, appropriate, or desirable, and (iii)
             to execute, verify, and file or cause to be filed all other petitions, schedules, lists, motions,
             applications, declarations, affidavits, and other papers or documents that, in the judgment of the
             Authorized Officers, may be necessary, appropriate, or desirable in connection with the foregoing;
             and it is further

             Retention of Professionals

                             RESOLVED, that the law firm of Morris, Nichols, Arsht & Tunnell LLP (“Morris
             Nichols”), be and hereby is, authorized, directed, and empowered to represent each Company as
             its general bankruptcy counsel on the terms set forth in its engagement letter with each Company,
             which is hereby ratified and approved, and to represent and assist each Company in carrying out
             its duties under the Bankruptcy Code, and to take any and all actions to advance each Company’s
             rights, including, without limitation, the preparation of and filing of the Petition and related forms,
             schedules, lists, statements and other papers or documents; and it is further



                                                                     3
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             General Resolutions

                            RESOLVED, that the Authorized Officers be, and hereby are, authorized, directed,
             and empowered, on behalf of and in the name of each Company, each Company acting individually
             and as sole member and/or manager of any other Company, and such Authorized Officers acting
             directly on behalf of any Company managed, directly or indirectly, by any other Company, to
             perform the obligations of each Company under the Bankruptcy Code, with all such actions to be
             performed in such manner, and all such certificates, instruments, guaranties, notices, and
             documents to be executed and delivered in such form, as the Authorized Officers performing or
             executing the same shall approve, and the performance or execution thereof by the Authorized
             Officers shall be conclusive evidence of the approval thereof by the Authorized Officers and by
             each Company; and it is further

                             RESOLVED, that the Authorized Officers be, and hereby are, authorized, directed,
             and empowered, on behalf of and in the name of each Company, to take such actions and execute
             and deliver such documents as may be required or as the Authorized Officers may determine to be
             necessary, appropriate, or desirable to carry out the intent and purpose of the foregoing resolutions
             or to obtain the relief sought thereby, including, without limitation, the execution and delivery of
             any consents, resolutions, petitions, motions, applications, schedules, lists, declarations, affidavits,
             and other papers or documents, with all such actions to be taken in such manner, and all such
             petitions, schedules, lists, declarations, affidavits, and other papers or documents to be executed
             and delivered in such form as the Authorized Officers shall approve, the taking or execution thereof
             by the Authorized Officers being conclusive evidence of the approval thereof by the Authorized
             Officers and each Company; and it is further

                            RESOLVED, that for the avoidance of doubt, the sole member of the Special
             Committee and the Independent Manager constitutes an Authorized Officer of each Company
             hereunder with full power and authority to execute any documents, including these resolutions, on
             behalf of any Company acting, as applicable, individually and as sole member and manager of any
             other Company; and it is further

                              RESOLVED, that all of the acts and transactions relating to matters contemplated
             by the foregoing resolutions, which acts and transactions would have been authorized and
             approved by the foregoing resolutions except that such acts and transactions were taken prior to
             the adoption of such resolutions, be, and they hereby are, in all respects confirmed, approved, and
             ratified; and it is further

                             RESOLVED, that facsimile, photostatic, or other electronic copies of signatures to
             this consent shall be deemed to be originals and may be relied on to the same extent as the originals.

                                           [Remainder of page intentionally left blank.]




                                                                     4
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                            IN WITNESS WHEREOF, the undersigned has executed this Action by Written
             Consent as of the date first written above.

              CAMSTON WRATHER LLC

              By: _____________________________
              Name: James LaChance
              Title: Independent Manager and sole member
              of the Special Committee


              CAMSTON WRATHER SUB CO., LLC                               THREE D SECURITY, LLC,
              By: Camston Wrather, LLC, its Sole                         By: Stream Recycling Solutions, LLC, its
              Member and Manager                                         Sole Member and Manager

              By: _____________________________      By: _____________________________
              Name: James LaChance                   Name: James LaChance
              Title: Authorized Officer, Independent Title: Authorized Officer
              Manager and sole member of the Special
              Committee



              CAMSTON WRATHER LAB CO., LLC,                              CAMSTON WRATHER (PA) LLC,
              By: Camston Wrather Sub Co., LLC,                          By: Stream Recycling Solutions, LLC, its
              its Sole Member and Manager                                Sole Member and Manager

              By: _____________________________                          By: _____________________________
              Name: James LaChance                                       Name: James LaChance
              Title: Authorized Officer                                  Title: Authorized Officer



              CAMSTON WRATHER MANAGEMENT                                 CAMSTON WRATHER (TX) LLC,
              CO., LLC,                                                  By: Stream Recycling Solutions, LLC, its
              By: Camston Wrather Sub Co., LLC,                          Sole Member and Manager
              its Sole Member and Manager
                                                                         By: _____________________________
              By: _____________________________                          Name: James LaChance
              Name: James LaChance                                       Title: Authorized Officer
              Title: Authorized Officer




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              CAMSTON WRATHER TECH CO., LLC, STREAM RECYCLING SOLUTIONS OF
                                                CALIFORNIA, LLC,
              By: Camston Wrather Sub Co., LLC,
              its Sole Member and Manager       By: Stream Recycling Solutions, LLC, its
                                                Sole Member and Manager
              By: _____________________________
              Name: James LaChance                                       By: _____________________________
              Title: Authorized Officer                                  Name: James LaChance
                                                                         Title: Authorized Officer


              CAMSTON WRATHER PLANTS CO.,                                CAMSTON CARLSBAD, LLC,
              LLC,                                                       By: Camston Wrather Plants Co., LLC,
              By: Camston Wrather Sub Co., LLC, its                      its Sole Member and Manager
              Sole Member and Manager
                                                                         By: _____________________________
              By: _____________________________                          Name: James LaChance
              Name: James LaChance                                       Title: Authorized Officer
              Title: Authorized Officer



              STREAM RECYCLING SOLUTIONS                                 CAMSTON CARLSBAD ASSET 1, LLC,
              LLC,                                                       By: Camston Carlsbad, LLC, its Sole
              By: Camston Wrather Sub Co., LLC,                          Member and Manager
              its Sole Member and Manager
                                                                         By: _____________________________
              By: _____________________________                          Name: James LaChance
              Name: James LaChance                                       Title: Authorized Officer
              Title: Authorized Officer



                          [Signature Page to Action by Written Consent of the Special Committee of
                                                  Camston Wrather LLC]




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                                       United States Bankruptcy Court
                                                                       Delaware
                                         _______________ District Of _______________


 In re
               Camston Wrather LLC,                                                              Case No. ___________________

 Debtor                                                                                                      7
                                                                                                 Chapter ____________________

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

 1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
      contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                                125,000*
      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                             56,356.85**
      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

 2.   The source of the compensation paid to me was:

                 Debtor                          X Other (specify)                Co-debtor, Camston Carlsbad Asset 1, LLC

 3.   The source of compensation to be paid to me is:

                 Debtor                          X Other (specify)
                                                                                   Co-debtor, Camston Carlsbad Asset 1, LLC

             X
 4.            I have not agreed to share the above-disclosed compensation with any other person unless they are
            members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a other person or persons who are not
            members or associates of my law firm. A copy of the agreement, together with a list of the names of the
            people sharing in the compensation, is attached.

 5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
      case, including:

      a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
            file a petition in bankruptcy;

      b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
            hearings thereof;



*This includes monies held in advance for payment of services to be rendered.
**Plus additional fees and expenses incurred in preparation for filing bankruptcy petitions.
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     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

            February 13, 2025
           ______________________               /s/ Robert J. Dehney, Sr.
           Date                                      Signature of Attorney
                                                Morris, Nichols, Arsht & Tunnell LLP
                                                    Name of law firm
